











COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS






JVAN LAMAR HOWARD,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

V.

THE STATE OF TEXAS,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee.

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No. 08-10-00101-CR

Appeal from the

211th Judicial District Court

of Denton County, Texas 

(TC# F-2008-1052-C) 





O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Jvan Howard was convicted of one count of aggravated sexual assault of a child and one
count of possession of child pornography.  He was sentenced to 25 and 10 years’ imprisonment
respectively, with the sentences to run concurrently.  On appeal, Appellant raises four issues
challenging the legal and factual sufficiency of the evidence supporting both convictions.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In March 2008,  Joel Bernal, and his wife, Enedelia Soto purchased a used Samsung
cellular phone at a pawn shop in Dallas.  Two days later, the couple discovered the phone had
several videos still saved in its memory.  One of the videos included footage of a man
encouraging a small female child to handle his penis and place it in her mouth.  Disturbed by the
video, Mr. Bernal and Mrs. Soto contacted the police.  Officer Jamie Leal investigated.  Officer
Leal testified that the video depicted the lower torso, penis and upper legs of an adult male.  The
man appeared to be sitting, with his legs spread when a two or three-year old child comes into the
frame, takes the man’s erect penis in her hand, and places it in her mouth.  Officer Leal
confiscated the phone for further investigation and contacted the Garland Police Department’s
Child Exploitation Section.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Detective Gregory Dugger, with the Dallas Police Department’s crimes against children
section, led the investigation into the video.  Detective Dugger photographed and documented the
phone, and then turned it over to digital forensic examiner J.D. Gardner with the North Texas
Regional Computer Forensics Lab.  Officer Gardner performed a full forensic examination of the
phone, and exported all the information stored in the phone’s memory, including call records,
text messages, and video and still images.  All the information was copied onto a computer disk
which was submitted as evidence at trial.  Officer Gardner exported a total of fifty-five still
images and videos from the phone.  Although the phone did not record the date and time
information for the still images, the video files’ “properties” included corresponding date and
time stamps for each recording.  The video depicting the child performing sexual acts was titled,
“Video-0026.3gp.”  The accompanying information indicated that Video-0026.3gp was recorded
on October 20, 2007, at 4:57 p.m.  The remaining videos were recorded between September 21,
2007 and December 9, 2007.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Officer Gardner also documented the serial number and contents of the SIM card installed
in the phone.  According to Gardner, a SIM card provides a cellular carrier with basic account
information, and is the mechanism through which a cellular company assigns a particular phone
number to a customer.  Based on the SIM card information and other markings on the phone,
Detective Dugger determined the phone was serviced by T-Mobile.  The carrier’s records
indicated Appellant was the phone’s previous owner, at phone number 469-487-4025. 
According to T-Mobile’s records, Appellant contacted the company’s customer service
department from 469-487-4025 on November 5, 2007.  During the call, Appellant verified his
identity by providing the phone number, billing information and social security number
association with the account.  T-mobile’s records also stated that the caller’s name was “Jvan A.
Howard.”  Another entry from the 4025 phone number dated October 20, 2007, included the
same customer identification and verification.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The information exported from the phone also contained several text messages, incoming
and outgoing, containing Appellant’s first name.  Several of the text messages were sent to, or
received from phone number 469-544-8766.  Call records also contained numerous entries from
469-544-8766, and indicated that this number was designated as one of Appellant’s “favorites.” 
The number belonged to Denisha Howard, Appellant’s wife.  According to the records,
Appellant and Mrs. Howard were communicating between the 4025 and 8766 phone numbers
from September 2007 through December 17, 2007.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On October 20, 2007, Appellant dropped his wife off at work at 10 a.m., and took their
son to Mrs. Howard’s mother’s house in The Colony.  Mrs. Howard did not finish her shift that
day until after 8 p.m.  Mrs. Howard’s sisters, Misty, Brittany, and Alexia Seastrong, also lived at
the house with Mrs. Howard’s mother and stepfather.  According to Mrs. Howard, Appellant had
two personal cell phones at that time.  She testified that Appellant called her at work on
October&nbsp;20, and told her that he had switched the SIM cards between the phones because his
ususal phone, generally attached to the 4025 number, had a bad battery.  Months later, when an
investigator showed Mrs. Howard a still image of the penis depicted in Video-0026.3gp., 
Mrs.&nbsp;Howard testified that she knew the man in the picture was not her husband because
Appellant has a prominent scar on his penis from a surgery he had as a child.


  She also testified
that Appellant lost the phone associated with the 4025 number in late October 2007, and did not
call her from that phone in November or December 2007.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;During his investigation into Appellant’s whereabouts in October 2007, Detective Dugger
contacted Misty Seastrong, one of Mrs. Howard’s sisters.  When the detective showed Misty an
image of the child depicted in “Video-0026.3gp,” she identified the child as her daughter, A.E. 
A.E. was born on May 25, 2006.  She was approximately sixteen months old when Video-0026.3gp was filmed.  Misty testified that she was at her mother’s house decorating for
Halloween on October 20, 2007.  Appellant was helping her with the decorations in the front
yard.  While the two were working, Misty noticed Appellant “playing on his phone or texting or
something.”  She testified that she had no idea that Appellant was actually videotaping her while
she put up decorations.  Misty explained that Appellant was constantly on his phone during the
day.  According to Misty, Appellant kept his phone “locked” so that other people could not use
the phone without entering the proper code.  She testified that Appellant did not allow other
people to use his phone.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Dallas Police Detectives contacted Mollie Ivery, early in 2008.  The police showed
Mrs.&nbsp;Ivery photographs of a the child depicted in Video-0026.3gp, and Ms. Ivery informed the
detectives that the child was A.E., her granddaughter.  Mrs. Ivery also recognized the
surroundings in several other images, and informed police that they were pictures of her former
home in The Colony.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Ruben Martinez managed the “Top Dollar Pawn Superstore” in Dallas in December
2007.  He identified the pawn ticket and sales receipt which documented the transactions related
to the Samsung cell phone.  According to the pawn ticket, the phone was pawned at the store, by
someone other than Appellant on December 29, 2007.  The phone was purchased by Joel Lara on
March 10, 2008.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The State charged Appellant with one count of aggravated sexual assault of a child
younger than six years’ of age (Count I), and one count of possession of child pornography
(Count II).  A jury convicted Appellant of both offenses, and sentenced Appellant to twenty-five
and ten years’ imprisonment respectively.  The trial court entered judgment on the jury’s verdict,
and ordered Appellant to register as a sex offender.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant raises four issues on appeal.  In Issues One and Two, he challenges the legal
and factual sufficiency of the evidence supporting his conviction for aggravated sexual assault of
a child.  In Issues Three and Four, Appellant contends the evidence is legally and factually
insufficient to sustain his conviction for possession of child pornography.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;As a preliminary matter, we must note that since Appellant filed his brief in this case, the
Texas Court of Criminal Appeals has ruled that the only standard applicable to determine
whether the evidence is sufficient to support each element of a criminal offense is the standard
for legal sufficiency defined by Jackson v. Virginia.  See Brooks v. State, 323 S.W.3d 893, 895 
(Tex.Crim.App. 2010)(holding that “the Jackson v. Virginia, legal sufficiency standard is the
only standard that a reviewing court should apply in determining whether the evidence is
sufficient to support each element of a criminal offense . . .”).  Therefore, without addressing the
merits of Appellant’s factual insufficiency arguments further, we overrule Issues One and Three.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Issue Two, Appellant challenges the legal sufficiency of the evidence supporting his
conviction for the aggravated sexual assault of A.E. on the basis that there is no evidence, or
insufficient evidence, to support the jury’s determination that he was the male depicted in the
video.  Appellant argues that the evidence presented at trial indicated that there were other people
who had access to his phone on October 20, 2007, in addition to the evidence that Appellant had
a noticeable scar on the tip of his penis, while the penis in the video was not scarred.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In a legal sufficiency review, we must consider all of the evidence in a light most
favorable to the verdict, and determine whether a reasonable minded juror could have found the
essential elements of the charged crime were proven beyond a reasonable doubt.  Jackson v.
Virginia, 443 U.S. 307, 318-19, 99 S.Ct. 2781, 2788-89, 61 L.Ed.2d 560 (1979); Hooper v. State,
214 S.W.3d 9, 13 (Tex.Crim.App. 2007).  We must defer to “the responsibility of the trier of fact
to fairly resolve all conflicts in testimony, to weigh the evidence, and to draw reasonable
inferences from basic facts to ultimate facts.”  Hooper, 214 S.W.3d at 13.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Regarding the evidence that other individuals had access to the victim and Appellant’s
phone on the date of the offense, we note that A.E.’s mother testified that Appellant did not allow
other people to use his cell phone, and kept it locked via secret key code.  She also testified that
there were no other adult males at the house in The Colony on October 20.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Regarding his second argument, as we noted above, neither Appellant, nor the State
offered photographic evidence of Appellant’s penis for comparison at trial.  Only two witnesses
testified regarding the alleged scar:  (1) Appellant’s wife, Mrs. Howard; and (2) Appellant’s
mother, Tammy Freeman.  During her testimony, Mrs. Freeman explained that Appellant had
surgery as a small child to repair an incomplete circumcision.  However, Mrs. Freeman also
admitted that she had not personally examined Appellant’s penis since he was a child, and that
she did not have any idea what her son’s penis looked like at the time of the offense. 
Mrs.&nbsp;Howard testified that she was familiar with the appearance of Appellant’s penis at the time
of the offense.  She testified that she told investigators that the man in the video could not be her
husband because her husband had a noticeable scar on his penis, and there was no such scar on
the man in the video.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;However, the jury also heard testimony from Detective Dugger, who described
Mrs.&nbsp;Howard’s demeanor during the investigation as follows:
[M]y impression was that she was very put off.  She did not want to cooperate with the
investigation at all.  She was being very protective of [Appellant], not providing us with
very many details and information, and I think I got the feeling that she wanted me out of
her apartment as quickly as --as I could.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In addition, Denisha’s sister, and the mother of the victim, testified that she and her sister
had not spoken since they found out about the abuse.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Based on our discussion of the facts above, and considering that the jury, as the fact
finder, was permitted to believe or disbelieve all, or any part of Mrs. Howard’s testimony, we
conclude it was reasonable for the jury to have determined Appellant was the individual in the
video.  Accordingly, the evidence in this case was legally sufficient.  Issue Two is overruled.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Issue Four, Appellant contends the evidence is legally insufficient to support his
conviction for possession of child pornography.  Specifically, Appellant argues the State failed to
establish that he was aware of the video on his phone.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A person commits the offense of possession of child pornography if that person
knowingly or intentionally possesses material that visually depicts a child, younger than 18 years’
of age, engaged in sexual conduct; and the possessor knows that the material depicts such a child. 
Tex.Pen.Code Ann. § 43.26(a)(West 2011).  A person acts “knowingly” when he is aware of
the nature of his conduct or certain circumstances, or when he is aware that his conduct is
reasonably certain to cause the result.  Tex.Pen.Code Ann. § 6.03(b)(West 2011).  Proof of a
culpable mental state invariably depends on circumstantial evidence.  Krause v. State, 243
S.W.3d 95, 111 (Tex.App.--Houston [1st Dist.] 2007, pet. ref’d).  A jury can infer knowledge
from all the circumstances, including the acts, conduct, and remarks of the defendant.  Krause,
243 S.W.3d at 111.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We conclude the jury could have concluded, beyond a reasonable doubt that Appellant
“knowingly” possessed the video on his cell phone based on the following evidence:  (1) the
phone where the video was stored was Appellant’s; (2) Appellant was at the same location as the
victim at the time of the offense; (3) testimony by Appellant’s sister-in-law indicated that
Appellant’s phone was not accessible by others because it was locked with a security code; (4)
Appellant made and received phone calls and text messages on the device where the video was
stored immediately prior to and after, the date of the offense; and (5) there were no other adult
males in close proximity to the victim at the time of the offense.  Accordingly, we conclude the
evidence presented at trial was legally sufficient to support the jury’s determination that
Appellant possessed the images knowingly, and was therefore sufficient to support the
conviction.  Issue Four is overruled.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having overruled all of the issues raised by Appellant, we affirm the trial court’s
judgment.


August 3, 2011
DAVID WELLINGTON CHEW, Chief Justice

Before Chew, C.J., McClure, and Rivera, JJ.

(Do Not Publish)


